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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

WILLIAM EVANS, JOHN SNIPES,                   )
DAVID WALTON, and JEFFREY OWENS,              )
     Plaintiffs,                              )
                                              )
and                                           )                 CAUSE NO. 1:16-CV-60
                                              )
LINCOLN APARTMENTS, LLC, MEDALLION )
MANAGEMENT, INC, and PHILIP HEINZ             )
 (in his official and individual capacities), )
         Defendants.                          )


                        COMPLAINT AND DEMAND FOR JURY TRIAL

         COME NOW, Plaintiffs, by and through their counsel, Alexandra M. Curlin and do

hereby file a complaint for housing discrimination, reckless disregard and indifference of civil

rights, and intentional infliction of emotional distress and respectfully request a jury trial in this

cause.

                                       I.       INTRODUCTION

         In this action, which is brought pursuant to 42 U.S.C. § 3601, the federal Fair Housing

Act, Plaintiffs seek monetary, declaratory, and injunctive relief against Defendants due to

Defendants’ discrimination against them on the basis of race, color, and disability; Defendants’

harassment of them, which caused a hostile environment; and Defendants’ retaliation against

them when Plaintiffs exercised their fair housing rights provided under federal law.

                                II.     JURISDICTION AND VENUE

         1.     This Court has jurisdiction of this case pursuant to 28 U.S.C. § 1331 because this

Action seeks relief under federal laws. This Court has jurisdiction over Plaintiffs’ state law




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claims under 28 U.S.C. § 1367 because those claims arise out of the same events and actions and

are also the basis of the case and/or controversy against Defendants.

       2.      Venue is proper in the Southern District of Indiana, Indianapolis Division,

because all of the Plaintiffs live in Marion County, Indiana, Lincoln Apartments is located in

Marion County, Indiana, and all relevant actions took place in Marion County, Indiana.

                                          III.    PARTIES

       3.      Plaintiffs are all current or former residents of Lincoln Apartments.

            a. William Evans (“Evans”), a disabled African American, is an Army veteran,

eligible for housing at Lincoln Apartments. He currently resides at Lincoln Apartments at 230

N. Holmes St., Apt. 232, Indianapolis, IN 46222

            b. David Walton (“Walton”), a disabled African American, is an Army veteran,

eligible for housing at Lincoln Apartments. He was evicted from Lincoln Apartments and now

resides at 3340 N. Meridian St., Apt. 107, Indianapolis, IN 46204.

            c. John Snipes (“Snipes”), a disabled African American, is a Navy veteran, eligible

for housing at Lincoln Apartments. He was evicted from Lincoln Apartments and resides at 725

N. Pennsylvania St., Rm. 424, Indianapolis, IN 46204.

            d. Jeffrey Owens (“Owens”), a disabled African American, is an armed forces

veteran, eligible for housing at Lincoln Apartments. He currently resides at 3417 N. Rybold

Avenue, Indianapolis, IN 46222.

       4.      Defendant Lincoln Apartments, LLC, (“Lincoln”) located at 320 N. Meridian St.,

Ste. 516, Indianapolis, IN 46204 is the principal of Lincoln Apartments Veteran Housing

located at 530 N. Holmes St., Indianapolis, IN 46222. Lincoln receives financial assistance from

various federal agencies, including but not limited to the U.S. Department of Housing and Urban



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Development for the purpose of providing affordable, safe housing options to disenfranchised

individuals. Lincoln receives tax credits for this purpose through the Indiana Housing &

Community Development Authority. Lincoln ownership and management had knowledge that

residents were being mistreated in violation of the federal Fair Housing Act

       5.      Medallion Management, Inc. (“Medallion”) is the entity hired by Lincoln to

operate Lincoln Apartments and provide day to day management of the apartments. Medallion is

located at 834 King Highway, Ste., 100, Kalamazoo, MI 49001. Medallion is part of a family of

companies that manages apartment complexes in Michigan. Upon information and belief,

Lincoln is the only apartment complex it manages in Indiana. Medallion had knowledge that

residents were being mistreated in violation of the federal Fair Housing Act.

       6.      Philip Heinz (“Heinz”), whose last known address was 530 N. Holmes Aveunue,

Apt. 121 Indianapolis, IN 46222, was hired by Medallion to be the onsite operations manager of

Lincoln Apartments. His management created a hostile environment because he actively

discriminated against individuals on the basis of their race, color, and disability. He created and

implemented the incident report system that was arbitrary and designed to harass African

American and disabled residents. He used the referral system to take unwarranted disciplinary

actions against certain residents that were as severe as eviction and the incurring of fines. All of

the actions taken by Heinz were within the course and scope of his responsibilities as the

manager of Lincoln Apartments.

                           FACTS APPLICABLE TO ALL COUNTS

       7.      Lincoln is self described as a 75-unit permanent supportive housing development

for homeless veterans. It opened in November of 2013. The goal was for the apartment complex




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to have support service partners that would provide external services to the residents to prevent

homelessness.

       8.       Lincoln partnered with the Veterans’ Affairs Department to provide services to

residents. They also partnered with Volunteers of America to provide services to residents.

Lincoln provided space to each of these entities on site for that purpose.

       9.       Medallion manages and coordinates the support services program at Lincoln. The

services offered focus on the following: responsibility and self sufficiency, peer support for

recovery, health or the well being of the person or family served, enhancement of the quality of

life, reduction of symptoms and development of coping mechanisms, empowering “self-

managed” behaviors, person centered service delivery, and family reunification, when

appropriate.

       10.      Lincoln is strategically located within a close proximity to a supermarket, bank,

local restaurants, retail shops, and the IndyGo bus service.

       11.      Lincoln includes common areas such as a food pantry, conference room, picnic

area, a computer lab, and a furnished community room with a full service kitchen, television with

cable, and dining tables for residents.

       12.      Walton moved into Lincoln on or about December 2013; Snipes moved into

Lincoln on or about December 2013; Owens moved into Lincoln on or about December 2013;

and Evans moved into Lincoln on or about February 2014.

       13.      Heinz immediately began to create a hostile environment by using derogatory

racial slurs such as “nigger.” On or about March 2014, Evans attended a meeting called by

Heinz wherein Heinz stated a goal of evicting certain African American residents from Lincoln.

Heinz then assigned “watch captains,” which were other residents assigned to watch Plaintiffs



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and gather evidence against them in order to evict them. When a “watch captain” would report

disciplinary infractions, Heinz wrote “incident reports” that would document what Heinz would

categorize as bad behaviors. The incident reports were then used to threaten residents with

eviction or other discipline.

       14.     Heinz knew that Lincoln’s residents were individuals dealing with substance

abuse or other debilitating disabilities. Heinz deliberately took actions against them and tried to

provoke them in order to harass them and ultimately deprive them of their rights by forcing them

to move.

       15.     Walton, who has a physical disability, received therapeutic assistance from an

associate to treat his condition. Walton provided the associate a key to his apartment to facilitate

the care he was receiving.

       16.     Heinz wrote four incident reports against Walton, within a two to three week time

period, regarding the associate. The reasons for the referrals ranged from Heinz’s opinion that

the associate had been there too long or that the associate was walking around the complex

unescorted.

       17.     In April, when Walton was not home, Heinz began knocking on Walton’s door

while the associate was there waiting for Walton and yelling at the associate through the door.

The associate was scared and did not allow Heinz entrance. Heinz subsequently banned the

associate from the premises, effectively preventing Walton from receiving the medical assistance

he needed.

       18.     When Walton confronted Heinz regarding the incident, Walton received an

incident report. The referral said simply, “Guest lied to you about what happened. For this

reason we are issuing a no trespass. Do not violate this no trespass.”



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       19.     Walton complained to Heinz that there was a Caucasian resident that continually

referred to other African American residents as “niggers,” yet Heinz never addressed the

Caucasian resident and never gave him an incident report for the same. In fact, multiple

residents heard Heinz also refer to African American residents as “niggers.”

       20.     In June of 2014, Walton and a group of African American residents believed the

treatment they were receiving was discriminatory and made an appointment to speak with

Congressman Andre Carson to file a complaint against Lincoln. After this meeting, Heinz began

specifically targeting Walton.

       21.     Walton began receiving more incident reports for arbitrary issues such as “talking

too loudly” or “disturbing” other tenants. Heinz would say that he had been receiving

complaints about Walton from other tenants, but when asked details about the complaints, Heinz

refused to discuss them.

       22.     Heinz accused Walton, who does not smoke, of unauthorized smoking and gave

him an incident report for it, despite Walton’s insistence that he does not smoke.

       23.     Another Caucasian resident entered Walton’s apartment without permission.

Both food items and money were missing as a result. When Walton complained about the

incident to management, neither Heinz nor Medallion took any action. Yet, Walton had received

multiple incident reports based purely on the accusations of unidentified individuals.

       24.     Walton went on vacation in August 2014. While on vacation, he received calls

from fellow residents that his car had been ticketed by Lincoln. Walton called Lincoln office

management to inform them he was on vacation and had made arrangements for his car to be

moved to his sister’s house. He was told by staff that was okay. Management then had his car

towed anyway. Walton incurred unnecessary fees for the tow and storage of the vehicle and



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ultimately lost the vehicle because he was unable to pay the fees. The loss of the vehicle had a

significant negative impact on Walton’s life and independence. Walton complained to

Medallion, who was completely indifferent to his claim.

       25.     In October, Heinz came to the computer lab while Walton was there. Heinz

began yelling and cursing at Walton to leave the computer lab. As Walton was leaving, Heinz

tried to block the exit to force a physical confrontation. Heinz then physically assaulted Walton.

Heinz later admitted to police that he provoked Walton so that he could evict him from the

apartment.

       26.     Heinz harassed Walton’s guests and told them they had to leave.

       27.     On December 31, 2014, Walton’s lease was up. Lincoln refused to renew the

lease. Lincoln did not provide him or assist him with a housing choice voucher upon leaving,

which forced Walton to lose his rent subsidy.

       28.     Evans was present at the March 2014 meeting wherein Heinz tried to enlist the

help of residents to evict certain African American residents.

       29.     Evans began speaking out against what he believed was discrimination. When

that occurred, he too became a target.

       30.     Evans began receiving incident reports for “talking loudly” and “disrupting”

tenants.

       31.     Evans felt his housing was in jeopardy based on his advocacy.

       32.     Heinz blocked Evans’ access to the computer room because Heinz saw Evans

talking with Walton.

       33.     As Evans continued to advocate for the residents he felt were suffering

discrimination, he began to be harassed by individuals close to Heinz. He was yelled at and



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cursed at by these individuals. Evans had to call the police on multiple occasions to ensure his

safety.

          34.   When Evans filed a complaint against Defendants, he received an incident report

and Defendants blocked his access to the computer lab.

          35.   Owens also lived at Lincoln. On many occasions, Owens heard Heinz refer to

African Americans as “you people.” He heard Heinz tell other Caucasian residents that he

“need[ed] to get these niggers out of here.”

          36.   In May of 2014, Owens began receiving incident reports. He received reports for

“open alcohol in common area.” He received this report despite the fact that many Caucasian

residents had alcohol in common areas and did not receive similar reports.

          37.   On May 24, 2014, Owens received three incident reports. These reports were

arbitrary and accused Owens of actions such as “too much noise.”

          38.   One of the watch captains assigned by Heinz complained that Owens threatened

him with bodily harm, which Owens denied. Owens received an incident report anyway.

          39.   Owens received another incident report on May 27 for smoking, despite the fact

that many other residents smoked without consequence.

          40.   Owens received another report on May 31 for having open alcohol. Owens did

not have alcohol and told Heinz that. Heinz told Owens he wanted to smell the cup Owens was

holding. Owens did not allow him to do so and Heinz gave him an incident report.

          41.   On June 1, 2014 Owens received another report for open alcohol. On June 10,

2014 he received a report for talking in the computer lab.

          42.   Faced with constant harassment, Owens made a complaint to Congressman Andre

Carson’s office.



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       43.     On July 30, 2014 Owens was in the community room. He was not drinking

alcohol but had a drink in a closed container. Heinz asked him if he could smell the container

and Owens refused. Owens was again disciplined. Heinz began refusing to accept Owens’ rent

payments.

       44.     On October 22 Owens again received notice that he would be evicted.

Management blocked his use of the public computer lab.

       45.     Snipes also lived at Lincoln and suffered discrimination. Between April and May

2014, he too received arbitrary incident reports. For examples, Snipes received reports for being

“too loud” or using “inappropriate language.” He also received an incident report for smoking.

These were actions in which most residents engaged but did not receive incident reports.

       46.     One of the incident reports Snipes received said the following: “Driving

intoxicated, loud and open beverages on Lincoln Property. Apparently ‘you pay your bills and

do what the fu… you want’ reguardless [sic] of your lease or your fellow tenants.”

       47.     Heinz referred to Snipes as a “nigger” and constantly taunted him about his

sobriety and threatened that he would lose his housing.

       48.     Snipes brought a Veterans’ Affairs representative with him to a meeting with

Heinz to mediate some of the issues Snipes was having. Heinz was so disruptive and belligerent

throughout the meeting the representative left frustrated.

       49.     When Snipes got into disagreements with other residents, Snipes was accused of

“threatening” those residents and received incident reports as a result.

       50.     By May 27, Snipes had received seven incident reports. By June 3, Lincoln

notified Snipes that his lease would be terminated.




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         51.     Defendants had knowledge that the population at Lincoln was an at risk

 population with issues of Post Traumatic Stress Disorder and substance abuse issues. Rather

 than accomplish its mission to provide these individuals with a safe, secure, permanent home

 with services necessary to maintain that stability, Defendants deliberately, actively, indifferently,

 and recklessly provoked, harassed, and discriminated against these residents due to their race,

 color, and/or disability, which caused them to suffer great emotional harm and even caused

 major setbacks in recovery for some individuals.

                          COUNT I- VIOLATION OF THE FAIR HOUSING ACT

         52.     Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 52 as

 previously pleaded.

         53.     Defendants violated 42 U.S.C. §§ 3601 et. seq. by discriminating against

 Plaintiffs on the basis of race, color, and/or disability.

         54.     Defendants discriminated against Plaintiffs by applying different terms and

 conditions of housing to them, by creating a hostile housing environment, and by failing to

 reasonably accommodate individuals with disabilities.

         55.     Defendants harassed Plaintiffs by constantly and unreasonably disciplining them.

 When Plaintiffs complained either to Congressman Carson or to the Indiana Civil Rights

 Commission, Defendants retaliated against Plaintiffs.

         56.     As a result, Plaintiffs individually and collectively suffered harm including losing

 the right to equal and fair housing.

                   COUNT II- VIOLATION OF THE INDIANA FAIR HOUSING ACT

         57.     Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 56 as

 previously pleaded.



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           58.   Defendants violated IC 22-9.5-1-1 by discriminating against Plaintiffs, by

 creating a hostile housing environment, by applying different terms and conditions of housing to

 them, by failing to offer necessary reasonable accommodations for their disabilities, and by

 retaliating against Plaintiffs.

                           COUNT III- VIOLATION OF 42 U.S.C. § 1981

           59.   Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 58 as

 previously pleaded.

           60.   Defendants have violated 42 U.S.C. § 1981 because they have deprived them and

 other African Americans of full and equal rights and benefits under the law based on their race

 and/or color and Plaintiffs have suffered damages as a result.

                                   COUNT IV- VIOLATION OF 42 U.S.C.§ 1982

           61.   Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 60 as

 previously pleaded.

           62.   Defendants have violated 42 U.S.C. § 1982 by violating Plaintiffs’ and other

 African Americans’ right to lease personal property and Plaintiffs have suffered damages as a

 result.

                                   COUNT V- VIOLATION OF 42 U.S.C. § 1985

           63.   Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 62 as

 previously pleaded.

           64.   Defendants have violated 42 U.S.C. § 1985 by conspiring to deprive them and

 other African Americans of equal protection of the laws and/or equal privileges under the laws.

                               COUNT VI- VIOLATION OF 42 U.S.C. § 3617




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        65.     Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 64 as

 previously pleaded.

        66.     Defendants have violated 42 U.S.C. § 3617 by intimidating, threatening, and

 interfering with Plaintiffs’ and other African Americans’ rights to enjoy equal and fair housing.

               COUNT VII- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        67.     Plaintiffs hereby replead and incorporate by reference paragraphs 1 through 66 as

 previously pleaded.

        68.     Defendants have through their negligence, deliberate and reckless indifference, as

 well as discrimination intentionally inflicted emotional distress upon Plaintiffs that have caused

 Plaintiffs emotional, financial, and physical damages.

                    DEMAND FOR JURY TRIAL and PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully pray for judgment and relief including:

        1.      A permanent injunction prohibiting Defendants from continuing all unlawful

 practices complained about herein and imposing affirmative injunctive relief requiring

 defendants, their partners, agents, employees, assignees, and all persons acting in concert or

 participating with them to take affirmative action to provide equal housing opportunities to all

 tenants and prospective tenants regardless of race, color, or disability;

        2.      A declaration that Defendants discriminated against Plaintiffs on the basis of race,

 color and disability in violation of the Federal Fair Housing Act and the Indiana Fair Housing

 Act;

        3.      An award of compensatory, statutory, and punitive damages in an amount to be

 determined at trial;

        4.      For reasonable attorney’s fees and costs; and



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        5.      All other relief the Court deems just.

        WHEREFORE, for the foregoing reasons, Plaintiff hereby respectfully requests that this

 Court find in Plaintiff’s favor and order all relief deemed just in the premises.



                                                         Respectfully submitted,




                                                         Alexandra M. Curlin, (#24841-49)
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                                  CERTIFICATE OF SERVICE

 I do hereby certify that a copy of the foregoing has been duly served upon parties listed below by
 way of certified mail this 5th day of January, 2016.

 Scott Beltz
 Medallion Management, Inc.
 834 King Hwy. Ste. 100
 Kalamazoo, MI 49001


 Fred Hash
 Lincoln Apartments, LLC
 320 N. Meridian St., Ste. 356
 Indianapolis, IN 46204

 Philip Heinz
 530 N. Holmes Avenue, Apt. 121
 Indianapolis, IN 46222




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                                           Alexandra M. Curlin




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